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                                           U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007

                                                      January 5, 2024

VIA ECF AND EMAIL
The Honorable Analisa Torres
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re:     United States v. Kwok, et al., S2 23 Cr. 118 (AT)

Dear Judge Torres:

        The Government writes in response to several recent unsolicited filings by Bradford Geyer,
who does not represent any party to this criminal action, but rather claims to represent,
individually, thousands of customers of the Himalaya Exchange (the “Petitioners”), whose
identities he does not appear to know and with whom he may not have even communicated. 1 For
the reasons set forth in the Government’s December 7, 2023 letter (Dkt. 188), Mr. Geyer’s filings
are improper, and his motion should be denied for lack of jurisdiction.




       1
          Given that Mr. Geyer claims to represent over five thousand people (not as a class, but
individually) whose identities he does not appear to know and with whom he does not appear to
communicate, it is not clear who is directing Mr. Geyer. It does seem clear, however, that
Petitioners’ counsel is working closely with the Himalaya Exchange, an instrumentality of the
Kwok Enterprise that was founded and is owned by a currently-at-large international fugitive,
defendant Kin Ming Je. Indeed, the Government has learned that the Himalaya Exchange appears
to have notified all its registered customers (i.e. victims of the Himalaya Exchange) to file a claim
with Petitioners’ counsel. (See Ex. A.) Petitioners’ counsel, in turn, manages a website in which
individuals fill out a form and provide their Himalaya customer ID number (and apparently no
other identifying information) to become a “client” of Petitioners’ counsel.                      See
https://himalayarestoration.com/customers/. That website underscores that counsel does not need
“to know the personal identity” of the client. Counsel then, apparently, “verifies” the client’s ID
number with the Himalaya Exchange, which makes it clear that counsel is in consultation with the
Himalaya Exchange and that the Himalaya Exchange is promoting counsel’s work. These facts
alone warrant caution as to Mr. Geyer’s claims to represent the interests of thousands of individuals
in making a claim to lawfully seized fraud proceeds in this criminal case, in which Je is a charged
defendant—and, indeed, a defendant who is charged with attempting to obstruct the Government’s
seizures themselves. (Dkt. 215 (Indictment) ¶¶ 21-23.) In any event, for the reasons set out here
and the Government’s initial letter, Mr. Geyer’s filings are without merit.
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recovery of victim funds at a later date. Each of the Government’s seizure warrant applications
was supported by a corresponding affidavit from a Special Agent of the FBI. Magistrate Judge
Aaron authorized the seizure warrants, which were served on the relevant financial institutions,
and the funds were transferred to the Government. Those funds are preserved in Government-
controlled accounts until their disposition to victims can be adjudicated by this Court.

                                              *   *   *

       The Government wishes to state unequivocally that its goal is to return the money that
Kwok and his criminal enterprise stole to victims of the charged offenses. The Government intends
to handle the disbursement of funds to victims in the same way it handled the seizure of those
funds—in accordance with the laws regarding forfeiture and restitution.

          Accordingly, this Court should deny Mr. Geyer’s motion, order that Mr. Geyer cease
lodging unsolicited filings on this docket, and handle forfeiture and restitution at the appropriate
stage in the case— i.e., following the trial set to begin later this year.



                                                  Respectfully submitted,

                                                  DAMIAN WILLIAMS
                                                  United States Attorney

                                              By: /s/
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